Case 1:21-cr-00371-BMC-TAM Document 174 Filed 08/26/22 Page 1 of 5 PageID #: 4971

                                                        U.S. Department of Justice


                                                        United States Attorney
                                                        Eastern District of New York
  RCH/SPN/HDM/CRH                                       271 Cadman Plaza East
  F. #2018R01309                                        Brooklyn, New York 11201

                                                        August 26, 2022

  By ECF

  The Honorable Brian M. Cogan
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

                 Re:     United States v. Thomas Joseph Barrack, et al.
                         Criminal Docket No. 21-371 (S-1) (BMC)

  Dear Judge Cogan:

                 The government writes to respectfully request that the Court call back for oral voir
  dire the prospective jurors listed in Exhibit B, which includes all persons whom one or both parties
  believe should return for in-person questioning. Exhibit B also lists questions from the
  questionnaire the answers to which, in the government’s view, merit further inquiry. The
  government also respectfully requests that the Court ask at least some of its standard voir dire
  questions so that the parties have an opportunity to hear from and observe the prospective jurors
  as they engage with the Court.

                  As reflected in their letter filed earlier today, the defendants oppose the
  government’s proposal and instead request that the Court strike for cause an additional 41 jurors,
  based solely on written questionnaire responses, over the government’s objection. This approach
  is not appropriate, as it would give one party the power to strike a juror for cause unilaterally,
  notwithstanding that the juror might be qualified to serve. See United States v. Quinones, 511
  F.3d 289, 299 (2d Cir. 2007). Moreover, the defendants’ proposal would eliminate more than one
  third of the remaining jury pool. The defendants appear to be using purported “cause” strikes to
  avoid seating many potentially qualified people with political views who have nonetheless
  affirmed they can be fair and impartial. For example, many of the potential jurors the defendants
  seek to strike for “cause” are people who expressed some measure of dislike for former President
  Trump, but who answered that they could put those views aside and be fair and impartial. While
  some of these jurors may ultimately be struck for cause after additional questioning, the fact that
  they have opinions – even strongly held opinions – about the former President is not, on its own,
  a basis to disqualify them for cause, especially in light of an affirmation by many such persons that
  they can simultaneously hold those views and be fair and impartial in this case. In addition,
  because the defendants are asking to strike for cause 292 of 409 potential jurors (more than 70%
  of the jury pool) before even beginning oral voir dire, their proposal creates a substantial and
  unnecessary risk that we will be unable to seat a jury from the remaining venire.
Case 1:21-cr-00371-BMC-TAM Document 174 Filed 08/26/22 Page 2 of 5 PageID #: 4972




                  The Court should reject this attempt to exclude potentially qualified jurors based
  solely on written responses in circumstances where potential bias is not so evident “as to render
  superfluous further oral inquiry about the juror’s ability to follow legal instructions and to serve
  impartially.” See Quinones, 511 F.3d at 302. Instead, the Court should have the persons in Exhibit
  B return for in-person voir dire, ask the jurors about their views, observe their demeanor, and make
  a determination of qualification based on a full set of facts. See id. If the defendants wish to strike
  qualified jurors who hold particular political views, they may use peremptory challenges to do so.

         I.      Legal Standard

                  “The category of challenges for cause is limited.” United States v. Torres, 128 F.3d
  38, 43 (2d Cir. 1997). The Second Circuit recognizes three grounds for challenges for cause:
  actual bias, presumed bias and inferable bias. Id. The Supreme Court has directed that prospective
  jurors only be removed “for cause” based upon “narrowly specified, provable and legally
  cognizable bas[es] of partiality.” See Swain v. Alabama, 380 U.S. 202, 220 (1965); Torres, 128
  F. 3d at 43. 1 The Second Circuit has cautioned that strikes for actual bias “cannot be found unless
  a prospective juror is adequately questioned on voir dire with respect to his or her ability to apply
  the law impartially,” that presumed (or implied) bias is reserved for “exceptional circumstances”
  and “strictly limited,” id., and that inferable bias must be “grounded in facts developed at voir
  dire” that permit an “inference that the juror . . . would not be able to decide the matter
  objectively.” Torres, 128 F.3d at 44-47.

                   Voir dire ordinarily contemplates some in-person proceeding where the Court and
  parties can see the jurors and hear them speak. See Quinones, 511 F.3d at 299. A written
  questionnaire is appropriate as a “preliminary screening tool.” Id. Jurors may be struck for cause
  based solely on a written questionnaire where bias is “so evident from these written responses as
  to render superfluous further oral inquiry about the juror’s ability to follow legal instructions and
  to serve impartially.” Id. at 302. The Second Circuit has also cautioned that district courts should
  not strike jurors for cause if their responses to a written questionnaire are ambiguous. “While blunt
  acknowledgment of bias may support removal without further inquiry, the more ambiguous a
  prospective juror’s responses, the more useful demeanor, and thus oral inquiry, become in allowing
  a trial judge to identify partiality warranting removal for cause.” Quinones, 511 F.3d at 301-02. 2
  Ultimately, a potential juror should only be struck if the voir dire (oral or written) is “sufficient to
  permit a trial judge to form ‘a definite impression that a prospective juror would be unable to
  faithfully and impartially apply the law.’” Quinones, 511 F.3d at 301.



         1
          This is because such challenges are distinct and far narrower than peremptory challenges.
  Id. Unlike cause challenges, a party may use peremptory challenges to reject a juror for “real or
  imagined partiality,” and to “ferret out more subtle biases,” provided such challenges are not based
  on Constitutionally impermissible grounds. Torres, 128 F. 3d at 43 n.4.
         2
           While Quinones involved a capital case, where the risk created by improper voir dire is
  far greater, the Second Circuit noted throughout the opinion that the same analysis generally
  applies to non-capital cases. See 511 F.3d at 301-02 (discussing both capital and non-capital
  context of voir dire).

                                                     2
Case 1:21-cr-00371-BMC-TAM Document 174 Filed 08/26/22 Page 3 of 5 PageID #: 4973
Case 1:21-cr-00371-BMC-TAM Document 174 Filed 08/26/22 Page 4 of 5 PageID #: 4974




  have indicated that they can be fair and impartial. 5 While some of the jurors who return may well
  be struck for cause by the Court—because of language, scheduling, or partiality—the defendants
  are wrong to claim that we can exclude these 41 people solely on the basis of the defendants’ view
  (not shared by the government) about the adequacy of their questionnaire responses. The Court
  should follow the Second Circuit’s guidance on “ambiguous” written responses and have these
  jurors return for further inquiry. Quinones, 511 F.3d at 301. The Court and parties will then, after
  asking more questions and assessing the prospective jurors’ demeanor, be better positioned to
  determine whether they can be qualified or struck for cause.

                   The defendants claim that striking jurors who have expressed some dislike of
  former President Trump or his administration is appropriate because the former President and other
  members of the Trump Administration “cannot be ruled out” as potential witnesses. Although the
  defendants have already disclosed their witness lists, neither defendant identified the former
  President or any former member of the Trump Administration as a potential witness. Ironically,
  it is the government who has indicated that it may call one or more former Trump Administration
  officials, and thus would theoretically risk some prejudice to their witnesses from jurors who
  expressed negative views of the Trump Administration. In any event, a person’s strong feelings
  about a political or public figure, even if that figure testifies, is not itself a basis to strike a juror
  for cause absent proof of some form of bias under the law. See Torres, 128 F.3d at 43. The
  government is, frankly, skeptical of the defendants’ claim, and it appears to be a last-minute
  attempt to tilt the scales in favor of disqualifying for cause otherwise qualified jurors. The Court
  should inquire at the next status conference about the seriousness of the defendants’ claims, why
  they have not previously identified any such people as witnesses, and what steps they have taken
  to actually secure any such person’s appearance.

                  Lastly, the government notes that a significant side-effect to the defendants’
  proposal is the risk of having an insufficient jury pool. If the Court excludes everyone requested
  by the defendants, more than 70% of the jury pool will have been struck for cause and a little more
  than 100 jurors will return for further voir die. The government respectfully submits that, in the
  event the Court denies the government’s request that all prospective jurors on Exhibit B be called
  to return for oral voir dire, the Court arrange for the jury coordinators to call in an additional 50 to
  75 potential jurors on September 19, so that they can be available for voir dire and selection if
  necessary.

          III.    Supplemental Voir Dire

                 With respect to proposed supplemental voir dire, Exhibit B identifies particular
  questions from the questionnaire the answers to which the government respectfully submit merit
  further inquiry by the Court. In addition to these juror-specific questions, the government
  respectfully requests that the Court ask each juror several standardized questions about the
  person’s background, interests, ability to be fair and impartial, and ability to follow the Court’s
  instructions. With regard to the defendants’ additional proposed questions, the government objects

          5
            There are a handful of jurors who indicated that they could not be fair and impartial with
  respect to President Trump that the government is requesting be brought back for further inquiry
  because, the government submits, their answers are sufficiently ambiguous to warrant clarification
  at an in-person proceeding.

                                                      4
Case 1:21-cr-00371-BMC-TAM Document 174 Filed 08/26/22 Page 5 of 5 PageID #: 4975




  to questions 5, 6, 8 and 9 because they are poorly worded, fail to inquire about fairness and
  impartiality, and duplicative of already agreed-upon questions from the questionnaire that the
  Court can ask about. 6 The government anticipates that the remaining questions are already a part
  of the Court’s usual practice, and requests that the Court ask the question in the fashion it believes
  is most accurate and appropriate.

         IV.     Conclusion

                 For the foregoing reasons, the government respectfully requests that the Court call
  back for oral voir dire the prospective jurors listed in Exhibit B.


                                                        Respectfully submitted,

                                                        BREON PEACE
                                                        United States Attorney

                                                 By:      /s/
                                                        Ryan C. Harris
                                                        Samuel P. Nitze
                                                        Hiral D. Mehta
                                                        Craig R. Heeren
                                                        Assistant U.S. Attorneys
                                                        (718) 254-7000

                                                        MATTHEW G. OLSEN
                                                        Assistant Attorney General
                                                        Department of Justice
                                                        National Security Division

                                                 By:      /s/
                                                        Matthew J. McKenzie
                                                        Trial Attorney

  cc:    Counsel for Thomas Joseph Barrack (by ECF)
         Counsel for Matthew Grimes (by ECF)
         Clerk of the Court (BMC) (by ECF)




         6
           Specifically, Question 5 in the defendants’ August 26, 2022 letter is duplicative of
  Question 97 in the Juror Questionnaire. Question 6 in the defendants’ August 26, 2022 letter is
  duplicative of Question 105 in the Juror Questionnaire. Question 8 in the defendants’ August 26,
  2022 letter is duplicative of Question 76 in the Juror Questionnaire. Question 9 in the defendants’
  August 26, 2022 letter is duplicative of Question 116 in the Juror Questionnaire.

                                                    5
